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U.S. Department of Justice
United States Marshals Service




                      REQUEST FOR SERVICE ABROAD OF JUDICIAL OR EXTRAJUDICIAL
                      DOCUMENTS PURSUANT TO THE ADDITIONAL PROTOCOL TO THE
                         INTER-AMERICAN CONVENTION ON LETTERS ROGATORY
                                                                                                                               FORM A
                                                                  LETTER ROGATORY1

         1                                                                              2
          REQUESTING JUDICIAL OR OTHER                                                  CASE:
          ADJUDICATORY AUTHORITY                                                        US ex rel. AKW Enterprises v. Show Cigars et al.
          Name
          United States District Court for SDFL                                         DOCKET No.:
          Address                                                                       20-cv-24201
          400 North Miami Avenue
          Miami, FL 33128



         3                                                                              4
          CENTRAL AUTHORITY OF                                                          CENTRAL AUTHORITY OF
          THE STATE OF ORIGIN                                                           THE STATE OF DESTINATION
          Name                                                                          Name
          ABCLegal                                                                      Ministeiro De Relaciones Exteriores
          Address                                                                       Address
          633 Yesler Way Seattle, WA 98104                                              Zona Postal San Felipe, Calle 3
                                                                                        Palacio Bolivar Edificio 26
                                                                                        Panama 4 Panama

         5                                                                              6
          REQUESTING PARTY                                                              COUNSEL TO THE REQUESTING PARTY
          Name                                                                          Name
          AKW Enterprises, LLC                                                          Darth M. Newman, Esq.
          Address                                                                       Address
          30 N. Gould St, Ste R                                                         1140 Thorn Run Rd, #601
          Sheridan, WY 82801                                                            Coraopolis, PA 15108




          PERSON DESIGNATED TO ACT IN CONNECTION WITH THE LETTER ROGATORY
          Name                                                                     Is this person responsible for costs and
          ABC Legal                                                                expenses?
          Address                                                                         YES             NO ✘
                                                                                   * If not, check in the amount of
          633 Yesler Way Seattle, WA 98104
                                                                                     is attached
                                                                                   * Or proof of payment is attached


        1 Complete the original and two copies of this form; if A(l) is applicable, attach the original and two copies of the translation of this item
          in the language of the State of destination.
        * Delete if inapplicable.

                                                                                                                                                     Form USM-272
                                                                                  -1-                                                                      Est. 1/89
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The Central Authority signing this letter rogatory has the honor to transmit to you in triplicate the documents listed
below and, in conformity with the Protocol to the Inter-American Convention on Letters Rogatory:


* A. Requests their prompt service on:
     Durfort Holdings S.A. aka Durforth Holdings S.R.L; c/o Registered Agent Arias Fabrega & Gabrega, PH ARIFA, 9th
     and 10th Floors, West Boulevard, Santa Maria Business District, Panama, Republic of Panama

    The undersigned authority requests that service be carried out in the following manner:

    *    (1) In accordance with the special procedure or additional formalities that are described below,
         as provided for in the second paragraph of Article 10 of the above-mentioned Convention; or




    *    (2) By service personally on the identified addressee or, in the case of a legal entity, on its authorized agent; or


    *    (3) If the person or the authorized agent of the entity to be served is not found, service shall be
         made in accordance with the law of the State of destination.

* B. Requests the delivery of the documents listed below to the following judicial or administrative authority:
      Authority:




* C. Requests the Central Authority of the State of destination to return to the Central Authority
    of the State of origin one copy of the documents listed below and attached to this letter rogatory,
    and an executed Certificate on the attached Form C.
         Done at                           this                          date of                      20




                     Signature and stamp of the                                      Signature and stamp of the
                    judicial or other adjudicatory                                    Central Authority of the
                   authority of the State of origin                                        State of origin



        Title or other identification of each document to be delivered:
              Summons and Complaint


             (Attach additional pages, if necessary.)


        * Delete if inapplicable.


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                    ANNEX TO THE ADDITIONAL PROTOCOL TO THE INTER-AMERICAN
                               CONVENTION ON LETTERS ROGATORY

                                                                                                              FORM B


                                  ESSENTIAL INFORMATION FOR THE ADDRESSEE 1

          To (Name and address of the person being served)
          Durfort Holdings S.A. aka Durforth Holdings S.R.L; c/o Registered Agent Arias
          Fabrega & Gabrega, PH ARIFA, 9th and 10th Floors, West Boulevard, Santa Maria Business District, Panama, Republic of Panama
          You are hereby informed that (Brief statement of nature of service)
          A lawsuit has been filed against you in the Southern District of Florida, United States
          alleging violations of the False Claims Act 31 U.S.C. § 3729 et seq.

          A copy of the letter rogatory that gives rise to the service or delivery of these documents is attached to
          this document. This copy also contains essential information for you. Also attached are copies of the
          complaint or pleading initiating the action in which the letter rogatory was issued, of the documents
          attached to the complaint or pleading, and of any rulings that ordered the issuance of the letter rogatory.


                                         ADDITIONAL INFORMATION
                                                    I*
                                               FOR SERVICE


          A. The document being served on you (original or copy) concerns the following:
             False Claims Act lawsuit

          B. The remedies sought or the amount in dispute is as follows:
             Treble damages due to the United States, civil penalties, costs, and attorneys fees

          C. By this service, you are requested:
             Answer or otherwise respond to the Complaint


          D. * In case of service on you as a defendant you can answer the complaint before the judicial or
               other adjudicatory authority specified in Form A, Box I (State place, date and hour):
                 United States District Court for the Southern District of Florida; 400 North Miami
                 Avenue, Miami, FL 33128; 24 hour electronic filings accepted; due 21 days after service
              * You are being summoned to appear as:




      1
        Complete the original and two copies of this form in the language of the State of origin and two
         copies in the language of the State of destination.
      * Delete if inapplicable.




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   * If some other action is being requested of the person served, please describe:




   E. If you fail to comply, the consequences might be:
       A default judgment may be entered against you.




   F. You are hereby informed that a defense counsel appointed by the Court or the following legal aid
   societies are available to you at the place where the proceeding is pending.
         Name:
         Address:

         The documents fisted in Part III are being furnished to you so that you may better understand and
         defend your interests.

                                               II *
                    FOR INFORMATION FROM JUDICIAL OR ADMINISTRATIVE AUTHORITY

   To:




                                     (Name and address of the judicial or administrative authority)

         You are respectfully requested to furnish the undersigned authority with the following information:




         The documents listed in Part III are being furnished to you to facilitate your reply.




         * Delete if inapplicable.




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                                                            III
                                               LIST OF ATTACHED DOCUMENTS


           Summons
           Complaint




                                                 (Attach additional pages if necessary.)



           Done at                                                                   this                             day

           of                                      20




                         Signature and stamp of the                                         Signature and stamp of
                        judicial or other adjudicatory                                       the Central Authority
                       authority of the State of Origin                                      of the State of Origin




                                          .




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                 ANNEX TO THE ADDITIONAL PROTOCOL TO THE
             INTER-AMERICAN CONVENTION ON LETTERS ROGATORY


                                                                                                       FORM C

                                         CERTIFICATE OF EXECUTION1

   To:



                               (Name and address of judicial or other adjudicatory
                                   authority that issued the letter rogatory)

   In conformity with the Additional Protocol to the Inter-American Convention on Letters Rogatory,
   signed at Montevideo on May 8, 1979, and in accordance with the attached original letter rogatory, the
   undersigned Central Authority has the honor to certify the following:
   *     A. That one copy of the documents attached to this Certificate has been served or delivered as
             follows:

             Date:

             At (Address)
         By one of the following methods authorized by the Convention.
         * (1) In accordance with the special procedure or additional formalities that are described below,
           as provided for in the second paragraph of Article 10 of the above-mentioned Convention, or




         * (2) By service personally on the identified addressee or, in the case of a legal entity, on its
           authorized agent, or
         * (3) If the person or the authorized agent of the entity to be served was not found, in accordance
           with the law of the State of destination: (Specify method used)




       1 Complete the original and one copy in the language of the State of destination.
       * Delete if inapplicable.




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        * B. That the documents referred to in the letter rogatory have been delivered to:
                Identity of person



                 Relationship to the addressee
                                                                 (Family, business or other)




        * C. That the documents attached to the Certificate have not been served or delivered for the
            *following reason(s):




        * D. In conformity with the Protocol, the party requesting execution of the letter rogatory is
          requested to pay the outstanding balance of costs in the amount indicated in the attached statement.

                Done at                                    the                   day of                 20



                            Signature and stamp of Central Authority of the State of destination




        Where appropriate, attach originals or
        copies of any additional documents proving
        service or delivery, and identify them.




            * Delete if inapplicable.




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